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   United States Court of Appeals
       for the Federal Circuit
                  ______________________

           JAZZ PHARMACEUTICALS, INC.,
                  Plaintiff-Appellant

                            v.

      AVADEL CNS PHARMACEUTICALS, LLC,
                Defendant-Appellee
              ______________________

                        2023-1186
                  ______________________

     Appeal from the United States District Court for the
 District of Delaware in No. 1:21-cv-00691-GBW, Judge
 Gregory Brian Williams.
                 ______________________

                       JUDGMENT
                  ______________________

 THIS CAUSE having been considered, it is

 ORDERED AND ADJUDGED:

 AFFIRMED

                                  FOR THE COURT

 February 24, 2023                /s/ Peter R. Marksteiner
       Date                       Peter R. Marksteiner
                                  Clerk of Court
